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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

WENDY KEW and YVONNE KEW                                    §
                                                            §
                            Plaintiffs,                     §
                                                            §
VS.                                                         §    C.A. No. 4:15-cv-2835
                                                            §
                                                            §
NATIONSTAR MORTGAGE LLC1                                    §
                                                            §
                            Defendants.                     §
                                                            §
                                                            §



                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


           Plaintiffs Wendy Kew and Yvonne Kew (collectively, “Plaintiffs”) and Defendant

Nationstar Mortgage LLC (“Defendant”) (collectively with Plaintiffs, the “Parties”) file this Joint

Stipulation of Dismissal with Prejudice.

           The Parties hereby stipulate that all claims that Plaintiffs have asserted in this lawsuit or

could have asserted against Defendant in this lawsuit shall be dismissed with prejudice. The

Parties further stipulate that, to the extent not otherwise agreed, the Parties shall bear their own

costs and attorneys’ fees.

           WHEREFORE, the Parties respectfully request dismissal of all of Plaintiffs’ claims

against Defendant in this lawsuit with prejudice. An Agreed Order of Dismissal With Prejudice

granting this relief is submitted herewith.




1
    Nationstar Mortgage LLC was incorrectly named in Plaintiffs’ Petition as Nationstar Mortgage Holdings, Inc.


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                        Respectfully submitted,


/s/ Wendy Kew by perm. HHT                        /s/ Derrick B. Carson by perm. HHT   .
/s/ Yvonne Kew by perm. HHT
                                                  DERRICK B. CARSON
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                                                  ATTORNEYS FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on the following
consistent with the Federal Rules of Civil Procedure on March 2, 2016:
       Wendy Kew
       Yvonne Kew
       2703 S. Glen Haven Blvd
       Houston, Texas 77025
       wendy800cmc@yahoo.com
       Plaintiffs Pro se

                                             /s/ Harry Holmes Thompson
                                             Harry Holmes Thompson




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